Case 19-34054-sgj11 Doc 3445-46 Filed 08/15/22   Entered 08/15/22 16:45:41   Page 1 of 3




                               EXHIBIT 46




                                                                        Appx. 06368
Case 19-34054-sgj11 Doc 3445-46 Filed 08/15/22              Entered 08/15/22 16:45:41          Page 2 of 3

Case 19-34054-sgj11 Doc 1622 Filed 12/23/20          Entered 12/23/20 15:41:01        Page 1 of 2
                                                                         Docket #1622 Date Filed: 12/23/2020




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ATTORNEYS FOR JAMES DONDERO

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

In re:                            §                                Case No. 19-34054
                                  §
HIGHLAND CAPITAL MANAGEMENT, L.P. §                                Chapter 11
                                  §
    Debtor.                       §


                                 NOTICE OF WITHDRAWAL

         PLEASE TAKE NOTICE THAT James Dondero hereby WITHDRAWS the following

documents:

         1. James Dondero’s Motion for Entry of an Order Requiring Notice and Hearing for

            Future Estate Transactions Outside the Ordinary Course of Business [Docket No.

            1439];

         2. Notice of Subpoena of Jean Paul Sevilla [Docket No. 1559];

         3. Notice of Subpoena of Russell Nelms [Docket No. 1560]; and

         4. Notice of Subpoena of Fred Caruso [Docket No. 1561].




NOTICE OF WITHDRAWAL                                           ¨1¤}HV4,7    P   1   AGE   (u«
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Case 19-34054-sgj11 Doc 3445-46 Filed 08/15/22            Entered 08/15/22 16:45:41         Page 3 of 3

 Case 19-34054-sgj11 Doc 1622 Filed 12/23/20           Entered 12/23/20 15:41:01       Page 2 of 2




  Dated: December 23, 2020                    Respectfully submitted,

                                              /s/ Bryan C. Assink
                                              D. Michael Lynn
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                                              ATTORNEYS FOR JAMES DONDERO

                                 CERTIFICATE OF SERVICE

          I, the undersigned, hereby certify that, on December 23, 2020, a true and correct copy of
  the foregoing document was served via the Court’s CM/ECF system upon all parties requesting
  or consenting to such service.

                                              /s/ Bryan C. Assink
                                              Bryan C. Assink




  NOTICE OF WITHDRAWAL                                                                     PAGE 2
                                                                                       Appx. 06370
